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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

    BRADLEY SHIELDS, individually and on               Case No.
    behalf of all others similarly situated,
                                                     CLASS ACTION COMPLAINT
                   Plaintiff,
                                                     DEMAND FOR JURY TRIAL
    v.

    OLAM ADVISERS INC.,

                   Defendant.



                                CLASS ACTION COMPLAINT

         Plaintiff Bradley Shields (“Plaintiff Shields” or “Shields”) brings this Class Action

  Complaint and Demand for Jury Trial against Defendant Olam Advisers Inc., doing business as

  Effective Funding (“Defendant” or “Effective Funding”), to stop the Defendant from violating the

  Telephone Consumer Protection Act (“TCPA”) by placing unsolicited calls to phone numbers that

  are registered on the National Do Not Call registry (“DNC”). Plaintiff also seeks injunctive and

  monetary relief for all persons injured by Defendant’s conduct. Plaintiff Shields, for this

  Complaint, alleges as follows upon personal knowledge as to himself and his own acts and

  experiences, and, as to all other matters, upon information and belief, including investigation

  conducted by his attorneys.

                                            PARTIES

         1.     Plaintiff Shields is a resident of Washington, Utah.

         2.     Defendant Effective Funding is a Florida corporation, headquartered in Boca

  Raton, Florida. Defendant conducts business throughout Florida and other parts of the US.




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                                    JURISDICTION AND VENUE

          3.      This Court has federal question subject matter jurisdiction over this action under 28

  U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §227

  (“TCPA”).

          4.      This Court has personal jurisdiction over the Defendant because the Defendant is

  headquartered in this District.

          5.      Venue is proper in this District under 28 U.S.C. § 1391(b) because the Defendant

  is located in this District and directed the violative conduct from this District to the Plaintiff.

                                           INTRODUCTION

          6.      As the Supreme Court explained at the end of its term this year, “Americans

  passionately disagree about many things. But they are largely united in their disdain for robocalls.

  The Federal Government receives a staggering number of complaints about robocalls—3.7 million

  complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly

  30 years, the people’s representatives in Congress have been fighting back.” Barr v. Am. Ass'n of

  Political Consultants, No. 19-631, 2020 U.S. LEXIS 3544, at *5 (U.S. July 6, 2020).

          7.      When Congress enacted the TCPA in 1991, it found that telemarketers called more

  than 18 million Americans every day. 105 Stat. 2394 at § 2(3).

          8.      By 2003, due to more powerful autodialing technology, telemarketers were calling

  104 million Americans every day. In re Rules and Regulations Implementing the TCPA of 1991,

  18 FCC Rcd. 14014, ¶¶ 2, 8 (2003).

          9.      The problems Congress identified when it enacted the TCPA have only grown

  exponentially in recent years.




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         10.     According to online robocall tracking service “YouMail,” 4.8 billion robocalls were

  placed in March 2025 alone, at a rate of 155.0 million per day. www.robocallindex.com (last

  visited April 27, 2025).

         11.     The FCC also has received an increasing number of complaints about unwanted

  calls, with 150,000 complaints in 2016, 185,000 complaints in 2017, and 232,000 complaints in

  2018. FCC, Consumer Complaint Data Center, www.fcc.gov/consumer-help-center-data.

         12.     “Robocalls and telemarketing calls are currently the number one source of

  consumer complaints at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016), statement

  of FCC chairman.1

         13.     “The FTC receives more complains about unwanted calls than all other complaints

  combined.” Staff of the Federal Trade Commission’s Bureau of Consumer Protection, In re Rules

  and Regulations Implementing the Telephone Consumer Protection Act of 1991, Notice of

  Proposed Rulemaking, CG Docket No. 02-278, at 2 (2016).2




  1
    https://www.fcc.gov/news-events/blog/2016/07/22/cutting-robocalls
  2
    https://www.ftc.gov/system/files/documents/advocacy_documents/comment-staff-ftc-bureau-
  consumer-protection-federal-communications-commission-rules-
  regulations/160616robocallscomment.pdf

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                                     COMMON ALLEGATIONS

         14.     Olam Advisers Inc. operates using the d/b/a Effective Funding:




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         15.     Effective Funding provides capital to businesses throughout the US.4

         16.     Defendant place calls, or cause calls to be placed, through Effective Funding to

  solicit its business funding solutions.

         17.     Defendant engages in placing cold calls to generate business, as per this Linkedin

  job description from Salvatore LaMastra, who was a sales broker:




  3

  https://dos.sunbiz.org/scripts/ficidet.exe?action=DETREG&docnum=G23000043653&rdocnum
  =G23000043653
  4
    https://effectivefunding.com/

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           18.    Defendant place telemarketing calls to consumer phone numbers that are registered

  on the DNC, as per Plaintiff’s experience.

           19.    The calls that Defendant place to consumer phone numbers are solicitations.




  5
      https://www.linkedin.com/in/salvatore-lamastra-796049358/

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         20.       Complaints have been posted online about unsolicited calls that have been received

  from Effective Funding, including complaints from consumers who received calls despite

  informing Defendant that it was calling a personal number, such as:

               •   “Please stop calling and leaving a message on my answering machine! I am on
                   the DO NOT CALL and it is very annoying to receive 2 messages every day
                   regarding your services. Will report you”6
               •   “These people WILL NOT stop calling me. Left me ten voicemails yesterday and
                   a few more today. I finally called and said to remove me from the calling list. I
                   never signed up for this in the first place. The man was very rude and hung up on
                   me when I nicely asked to PLEASE be removed from their calling list.”7
               •   “This business keeps calling me and harassing me its very suspicious. I let them
                   know they have the wrong number and they continue to call. They have texted me
                   personal information of the person they are looking for. Its extremely annoying
                   because they keep calling from different numbers and the business doesnt even
                   seem legitimate.”8
         21.       In response to these phone calls, Plaintiff Shields brings forward this case seeking

  injunctive relief requiring the Defendant to cease from violating the TCPA, as well as an award of

  statutory damages to the members of the Class and costs.

                              PLAINTIFF SHIELDS’ ALLEGATIONS

         22.       Plaintiff Shields is the sole owner and user of his cell phone number ending in 7112.

         23.       Plaintiff Shields registered his cell phone number on the DNC on February 9, 2016.

         24.       Plaintiff Shields uses his cell phone number for personal use only as one would use

  a landline telephone number in a home. Such use includes speaking to family and friends.

         25.       Plaintiff Shields’s cell phone number is not associated with a business and is not

  used for business-related purposes.




  6
    https://www.trustpilot.com/review/effectivefunding.com
  7
    Id.
  8
    https://www.bbb.org/us/fl/boca-raton/profile/business-loans/effective-funding-0633-
  92043227/complaints

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           26.     Plaintiff Shields pays for the use of his cell phone personally. It is not reimbursed

  by a business.

           27.     On March 24, 2025 at 12:32 PM, Plaintiff Shields received an unsolicited call to

  his cell phone from 385-218-6315.

           28.     When Plaintiff Shields answered this call, an employee said that he was calling

  from Effective Funding to offer a quote on business funding.

           29.     Plaintiff Shields told the employee that his cell phone number is registered on the

  DNC and that he does not require business funding.

           30.     The employee insisted on providing a funding quote, so Plaintiff told him to stop

  calling and ended the call.

           31.     At 12:37 PM on March 24, 2025, Plaintiff Shields received a 2nd unsolicited call to

  his cell phone from 385-218-6315.

           32.     When Plaintiff answered the call, the same employee that he had spoken to

  previously was upset about being hung up on, and again insisted on providing a business funding

  quote.

           33.     Plaintiff Shields told the employee to stop calling again. In response, the employee

  became abusive and insulting.

           34.     The unauthorized solicitation calls that Plaintiff received from the Defendant have

  harmed Plaintiff Shields in the form of annoyance, nuisance, and invasion of privacy, occupied his

  phone line, and disturbed the use and enjoyment of his phone.

           35.     Seeking redress for these injuries, Plaintiff Shields, on behalf of himself and a Class

  of similarly situated individuals, brings suit under the TCPA.




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                                          CLASS ALLEGATIONS

         36.     Plaintiff Shields brings this action pursuant to Federal Rules of Civil Procedure

  23(b)(2) and 23(b)(3) and seeks certification of the following Class:

         Do Not Call Registry Class: All persons in the United States who from four years
         prior to the filing of this action through class certification (1) Defendant Effective
         Funding called more than one time, (2) within any 12-month period, (3) where the
         person’s residential telephone number had been listed on the National Do Not Call
         Registry for at least thirty days, (4) for substantially the same reason Defendant
         called Plaintiff.

         37.     The following individuals are excluded from the Class: (1) any Judge or Magistrate

  presiding over this action and members of their families; (2) Defendant, its subsidiaries, parents,

  successors, predecessors, and any entity in which either Defendant or their parents have a

  controlling interest and their current or former employees, officers and directors; (3) Plaintiff’s

  attorneys; (4) persons who properly execute and file a timely request for exclusion from the Class;

  (5) the legal representatives, successors or assigns of any such excluded persons; and (6) persons

  whose claims against the Defendant have been fully and finally adjudicated and/or released.

  Plaintiff Shields anticipates the need to amend the Class definition following appropriate

  discovery.

         38.     Numerosity and Typicality: On information and belief, there are hundreds, if not

  thousands of members of the Class such that joinder of all members is impracticable, and Plaintiff

  is a member of the Class.

         39.     Commonality and Predominance: There are many questions of law and fact

  common to the claims of the Plaintiff and the Class, and those questions predominate over any

  questions that may affect individual members of the Class. Common questions for the Class

  include, but are not necessarily limited to the following:




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         (a)     whether Effective Funding placed multiple calls within a 12-month period to

                 Plaintiff and other consumers whose telephone numbers were registered with the

                 DNC for at least 30 days of the time of each call;

         (b)     whether the calls constitute a violation of the TCPA;

         (c)     whether members of the Class are entitled to treble damages based on the

                 willfulness of Defendant’s conduct.

         40.     Adequate Representation: Plaintiff Shields will fairly and adequately represent

  and protect the interests of the Class, and has retained counsel competent and experienced in class

  actions. Plaintiff Shields has no interests antagonistic to those of the Class, and the Defendant have

  no defenses unique to Plaintiff. Plaintiff Shields and his counsel are committed to vigorously

  prosecuting this action on behalf of the members of the Class, and have the financial resources to

  do so. Neither Plaintiff Shields nor his counsel have any interest adverse to the Class.

         41.     Appropriateness: This class action is also appropriate for certification because the

  Defendant have acted or refused to act on grounds generally applicable to the Class and as a whole,

  thereby requiring the Court’s imposition of uniform relief to ensure compatible standards of

  conduct toward the members of the Class and making final class-wide injunctive relief appropriate.

  Defendant’s business practices apply to and affect the members of the Class uniformly, and

  Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect to the Class as

  wholes, not on facts or law applicable only to Plaintiff Shields. Additionally, the damages suffered

  by individual members of the Class will likely be small relative to the burden and expense of

  individual prosecution of the complex litigation necessitated by Defendant’s actions. Thus, it

  would be virtually impossible for the members of the Class to obtain effective relief from




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   Defendant’s misconduct on an individual basis. A class action provides the benefits of single

   adjudication, economies of scale, and comprehensive supervision by a single court.

                                   FIRST CAUSE OF ACTION
                               Telephone Consumer Protection Act
                                  (Violations of 47 U.S.C. § 227)
                (On Behalf of Plaintiff Shields and the Do Not Call Registry Class)

          42.     Plaintiff repeats and realleges the prior paragraphs of this Complaint and

   incorporates them by reference herein.

          43.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o

   person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber

   who has registered his or his telephone number on the national do-not-call registry of persons who

   do not wish to receive telephone solicitations that is maintained by the federal government.”

          44.     Any “person who has received more than one telephone call within any 12-month

   period by or on behalf of the same entity in violation of the regulations prescribed under this

   subsection may” may bring a private action based on a violation of said regulations, which were

   promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

   solicitations to which they object. 47 U.S.C. § 227(c).

          45.     Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

   telephone solicitations to telephone subscribers such as Plaintiff Shields and the Do Not Call

   Registry Class members who registered their respective telephone numbers on the National Do

   Not Call Registry, a listing of persons who do not wish to receive telephone solicitations that is

   maintained by the federal government.

          46.     Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff Shields and the Do Not

   Call Registry Class received more than one call in a 12-month period made by the Defendant in

   violation of 47 C.F.R. § 64.1200, as described above.



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             47.     As a result of Defendant’s conduct as alleged herein, Plaintiff Shields and the Do

   Not Call Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are

   entitled, inter alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.

             48.     To the extent Defendant’s misconduct is determined to be willful and knowing, the

   Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages

   recoverable by the members of the Do Not Call Registry Class.

                                           PRAYER FOR RELIEF

             WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the following

   relief:

              a) An order certifying this case as a class action on behalf of the Class as

                   defined above; appointing Plaintiff as the representative of the Class; and

                   appointing his attorneys as Class Counsel;

              b) An award of money damages and costs;

              c) An order declaring that Defendant’s actions, as set out above, violate the

                   TCPA;

              d) An injunction requiring Defendant to cease all unsolicited calling activity,

                   and to otherwise protect the interests of the Class; and

              e) Such further and other relief as the Court deems just and proper.



                                               JURY DEMAND
             Plaintiff Shields requests a jury trial.


                                                        BRADLEY SHIELDS, individually and on behalf
                                                        of all others similarly situated,




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   DATED this 22nd day of May, 2025.


                                       By: /s/ Stefan Coleman

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